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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

  JACK ROUBINEK,                                §
                                                §
         Plaintiff/Counter-Defendant,           §
                                                §
  v.                                            §
                                                §
  PHH MORTGAGE,                                 §    CIVIL ACTION NO.
                                                §    3:22-cv-1889-K-BH
         Defendant/Counter-Plaintiff/           §
         Third-Party Plaintiff,                 §
                                                §
 v.
                                                §
 PATRICIA ROUBINEK,                             §
                                                §
          Third-Party Defendant.                §


                           PHH MORTGAGE’S STATUS REPORT


       Pursuant to the Court’s Order requiring a Status Report (the “Order”) (Doc. No. 43),

Defendant/Counter-Plaintiff/Third-Party Plaintiff PHH Mortgage (“Defendant”) files this Report

and states as follows:

       Defendant intends to pursue its counterclaims in furtherance of the right to foreclose in its

own right and/or on behalf of the entity for which it services the underlying mortgage against

Plaintiff/Counter-Defendant Jack Roubinek and Third-Party Defendant Patricia Roubinek,

together with all other relief to which it is entitled. To accomplish this, Defendant intends to add

any claim and party necessary to obtain the relief it seeks through pleading amendment, joinder,

consolidation of actions, a substitution of parties, and/or any other appropriate procedural

mechanism. Such action may involve, but not be limited to, adding an additional party, who is now

making claims to the property in a separate lawsuit filed in state court. Upon ensuring the




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appropriate claims and parties are added to the lawsuit, Defendant intends to conduct discovery,

as needed, before moving for summary judgment on its counterclaims. Defendant expects its

counterclaims will be resolved through summary judgment. However, Defendant intends to pursue

its counterclaims through final judgment, including trial and any post-judgment proceedings,

should it not obtain the relief it seeks through summary judgment. Defendant provides this

explanation in response to the Court’s order as an overview of how it intends to proceed based on

its current understanding of pertinent facts and circumstances. Defendant does so without waiving

any rights, and while reserving the right to amend or supplement this explanation and to pursue

the relief it seeks according to applicable law.

                                                    Respectfully submitted,


                                                    /s/ Camille Griffith
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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on August 23, 2024, a true and correct copy of the
foregoing document was delivered to the following via ECF and/or CMRRR consistent with the
Federal Rules of Civil Procedure:

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       COUNSEL FOR PLAINTIFF/COUNTER-DEFENDANT JACK ROUBINEK


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       RETURN RECEIPT REQUESTED
       Patricia Roubinek, pro se
       2126 Clearspring Dr. N.
       Irving, Texas 75063-5703
       THIRD-PARTY DEFENDANT

                                          /s/ Camille Griffith
                                          Counsel for Defendant/Counter-Plaintiff/Third-
                                          Party Plaintiff PHH Mortgage




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